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13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,                Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                    DECLARATION OF EMMA LAUTANEN
19 vs.                                             IN SUPPORT OF PLAINTIFF'S MOTION
                                                   FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION dba                        COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                   Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                   Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee                 Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated          Hon. Sean Riordan
   February 6, 2002,
24
                             Defendants.
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                                            1
     DECLARATION OF EMMA LAUTANEN ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                          COSTS
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 1          I, Emma Lautanen, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of Washington. I was a Legal

 5   Assistant with Aqua Terra Aeris (“ATA”) Law Group, the firm representing California

 6   Coastkeeper Alliance (“Plaintiff”) in the above referenced action. I am no longer with the firm.

 7          3.       I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

 8   Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

 9   unless otherwise stated; if called to testify as a witness, I could and would competently testify

10   thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12          4.       As noted, in 2020, I was a Legal Assistant at ATA before attending the University of
13   California, Berkeley School of Law.
14          5.       I graduated from the University of California, Berkeley School of Law in 2023.
15   While there, I was an editor for the school’s environmental law journal, Ecology Law Quarterly,
16   and participated in the Jeffrey G. Miller National Environmental Law Moot Court Competition.
17          6.       Since graduating, I have worked as an associate attorney at Marten Law, a firm that
18   handles transactions and litigation comparable to the size and complexity of the environmental
19   work done at the largest national firms. Marten Law does only environmental law. I work at
20   Marten Law’s Seattle, Washington office.
21          7.       My practice at Marten Law focuses on advising businesses and local governments on
22   water quality, chemical contamination, and regulatory compliance. I also have experience
23   representing clients in litigation on the same topics, and have familiarity with a variety of
24   environmental issues arising under state and federal law, including the Clean Water Act (“CWA”),
25   Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”),
26   Resource Conservation and Recovery Act (“RCRA”), National Environmental Policy Act
27   (“NEPA”), and Washington’s Model Toxics Control Act (“MTCA”).
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                                            2
     DECLARATION OF EMMA LAUTANEN ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                          COSTS
      Case 2:20-cv-01703-SCR            Document 189-5        Filed 04/18/25      Page 3 of 4


 1           8.     I am a member of the Washington State Bar.

 2           9.     My 2025 rate for attorney work in the Los Angeles/Orange County area market is

 3   $825 per hour. My 2025 rate for paralegal work in the Los Angeles/Orange County area market is

 4   $285 per hour. My rate for secretarial work in the Los Angeles/Orange County area market is $143

 5   per hour. Given my experience, skill, and reputation, my rates requested herein are reasonable.

 6      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

 7           10.    My main contribution towards this litigation occurred in January and February 2020,

 8   when I researched potential pathways for pollutants from the Murieta Equestrian Center to reach

 9   jurisdictional waters under the CWA. I prepared a memo on this topic to help ATA evaluate the

10   case.

11           11.    Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

12   records that document the time that I spent on this case. I personally and contemporaneously kept

13   these records using computer timekeeping software documenting the hours I worked on this case.

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15           I declare, under penalty of perjury under the laws of the United States that the foregoing is

16 true and correct. Executed on the Twenty-first day of March 2025 in Seattle, Washington.

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                                                                  Emma Lautanen
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     DECLARATION OF EMMA LAUTANEN ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                          COSTS
                                          Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                                  Document 189-5                                                             Page 4 of 4
Date      Client   Matter       Staff           Description                                                                Hours         Rate       Total           Billing Judgment Fee Reduction        Billing Judgment Time Reduction
                   Murieta
                   Equestrian                   Determine boarding space/events/pathways to waters of the United
  1/21/2020 CCKA   Center       Emma Lautanen   States                                                                             3.0    $100.00           $0.00                               $300.00                                      3
                   Murieta
                   Equestrian                   Research facility and pathways to waters of the United States for future
  1/30/2020 CCKA   Center       Emma Lautanen   memo.                                                                              1.0    $100.00           $0.00                               $100.00                                      1
                   Murieta
                   Equestrian                   Research for draft memo.
   2/4/2020 CCKA   Center       Emma Lautanen                                                                                      3.1    $100.00           $0.00                               $310.00                                     3.1
                   Murieta
                   Equestrian                   Research for draft memo.
   2/5/2020 CCKA   Center       Emma Lautanen                                                                                      1.5    $100.00           $0.00                               $150.00                                     1.5
                   Murieta
                   Equestrian                   Find out more info about surrounding waters and topography for memo.
  2/11/2020 CCKA   Center       Emma Lautanen                                                                                      0.5    $100.00           $0.00                                $50.00                                     0.5
                   Murieta
                   Equestrian                   Look more into permits and regulations.
  2/12/2020 CCKA   Center       Emma Lautanen                                                                                      0.2    $100.00           $0.00                                $20.00                                     0.2
                                                Totals                                                                             9.3                      $0.00                               $930.00                                     9.3




                                                                                                            Page 1 of 1
